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UNITED STATES DISTRICT COURT

DISTRICT Coys
FOR THE DIstRior “OF VERMOW]
DISTRICT OF VERMONT FILES |
UNITED STATES OF AMERICA ) MH OCT -3 PHY: 2]
) CLERK
Vv. ) NO. BY
) ~~ BERUT y 8fEfe
NASIR HUSSAIN, ) (18 U.S.C. § 1546(a))
Defendant. .
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INDICTMENT
The Grand Jury charges:

On or about June 22, 2022, in the District of Vermont and elsewhere, the defendant,
NASIR HUSSAIN, knowingly subscribed as true under penalty of perjury under 18 U.S.C.

§ 1746 a false statement with respect to a material fact in an application to Register Permanent
Residence or Adjust Status before the United States Department of Homeland Security, U.S.
Citizenship and Immigration Services, that is NASIR HUSSAIN, alleged that between October
28, 2021 and May 19, 2022, he was living with Nyasia Antoinette Jackson in Orlando, Florida,
when, as NASIR HUSSAIN well knew, he did not live with Nyasia Antoinette Jackson in
Florida during that time.

(18 U.S.C. § 1546(a))

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NIKOLAS P. KEREST (EAPC/CGO)
United States Attorney
Burlington, Vermont
October 3, 2024
